               Case 20-10036-CSS          Doc 21     Filed 01/22/20      Page 1 of 3



PROBER & RAPHAEL, A LAW CORPORATION
20750 Ventura Boulevard, Suite 100
Woodland Hills, California 91364
(818) 227-0100
(818) 227-0637 facsimile
cmartin@pralc.com
N.110-002.NF


                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF DELAWARE


In re                                                Bk. No. 20-10036-CSS

Tough Mudder Incorporated                            Chapter 11
aka Tough Mudder, LLC,

         Debtor.
                                               /

                              REQUEST FOR SPECIAL NOTICE

        IT IS HEREBY REQUESTED that copies of any and all notices and orders sent to any

person or entity in connection with this case, including, without limitation, service of any proposed

disclosure statement and notice of any hearing to consider the adequacy of the disclosure statement

in accordance with 11 U.S.C. §1125 and also including those notices sent pursuant to Subdivision

(a) of Bankruptcy Rule 2002, or succeeding rules, for which Navy Federal Credit Union, its

assignees and/or successors in interest, is entitled to service or notice, regarding funds provided to

Debtor for its 2020 Tough Mudder Regional Sponsorship and that a courtesy copy also be sent to:

                      PROBER & RAPHAEL, A LAW CORPORATION
                           20750 Ventura Boulevard, Suite 100
                            Woodland Hills, California 91364

        This does not constitute a general appearance for any purpose and is not a waiver of any

service requirements, under applicable law, including, but not limited to Bankruptcy Rule 7004.

Dated: January 21, 2020                By /s/ Lee S. Raphael



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Case 20-10036-CSS   Doc 21   Filed 01/22/20   Page 2 of 3



                  LEE S. RAPHAEL, ESQ., CA BAR # 180030
                As Agent for Claimant




                                2
               Case 20-10036-CSS          Doc 21      Filed 01/22/20      Page 3 of 3



                                       PROOF OF SERVICE

               STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

       I, Ricardo Soria, certify that I am a resident of the County aforesaid; I am over the age of 18

years and not a party to the within action; my business address is 20750 Ventura Boulevard, Suite

100, Woodland Hills, California 91364.

       On 1/22/2020, I served the within REQUEST FOR SPECIAL NOTICE on all interested

parties in this proceeding by placing true and correct copy thereof enclosed in a sealed envelope

with postage prepaid in the United States Mail at Woodland Hills, California, addressed as follows:

Tough Mudder Incorporated
15 MetroTech Center
Brooklyn, NY 11201
Debtor in Pro Se

U.S. Trustee
Office of the United States Trustee
J. Caleb Boggs Federal Building
844 King Street, Suite 2207
Lockbox 35
Wilmington, DE 19801

       I declare that I am employed in the office of a member of the Bar at whose direction this

service was made.

       I certify under penalty of perjury that the foregoing is true and correct.

       Executed on 1/22/2020, at Woodland Hills, California.


                                               /s/ Ricardo Soria




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